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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

 JANE DOE 1, individually and on behalf of
 all others similarly situated,

                       Plaintiff,

 v.                                               Case No. 22-cv-10019 (JSR)

 JP MORGAN CHASE BANK, N.A.,

                       Defendant.




      JPMORGAN CHASE BANK, N.A.’S NOTICE OF MOTION TO EXCLUDE
                       PLAINTIFF’S EXPERT

       Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), Defendant JPMorgan Chase Bank, N.A., hereby

respectfully requests that the Court exclude the Expert Report and Reply Expert Report of

Jane Khodarkovsky, submitted by Plaintiff Jane Doe in support of her motion for class

certification. The reasons in support of Defendant’s Motion are set forth in the attached

Memorandum of Law.


 Dated: May 12, 2023                           Respectfully submitted,

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